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                                                                             2017 Oct-06 PM 03:34
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

JYMERIA JACKSON,                     )
                                     )
            Plaintiff,               )
                                     )
v.                                   )       Case No.: 7:17-cv-00804-LSC
                                     )
EQUIFAX INFORMATION                  )
SERVICES, LLC, et al.,               )
                                     )
            Defendants.              )

                                    ORDER

      This Court acknowledges receipt of the Joint Stipulation of Dismissal as to

Defendant ProCollect, Inc. (Doc. 33) filed on September 29, 2017. Accordingly,

Plaintiff’s claims against ProCollect, Inc. are hereby DISMISSED WITH

PREJUDICE. Each party is to bear its own costs and attorneys’ fees.

      DONE and ORDERED on October 6, 2017.



                                         _____________________________
                                                L. Scott Coogler
                                          United States District Judge
                                                                            190485




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